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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


STACEY SCHMADER, et al.,                       :      Civil No. 1:20-CV-67
                                               :
      Plaintiffs                               :      (Judge Wilson)
                                               :
v.                                             :      (Magistrate Judge Carlson)
                                               :
THOMAS ALAN LINZEY, et al.,                    :
                                               :
      Defendants                               :

                                       ORDER


      AND NOW, this 29th day of January 2020 a settlement conference having

been conducted on January 28, 2020, which focused upon resolving the pending

motion for preliminary injunction, and the parties having reached agreement on the

terms of a stipulated preliminary injunction, and the parties further expressing an

interest in engaging in an early merits mediation, IT IS HEREBY ORDERED as

follows:

      On or before January 31, 2020, the parties will tender a proposed stipulated

preliminary injunction order to the district court for its approval.

      A merits settlement conference shall be conducted on February 20, 2020 at

10:30 a.m., in the undersigned chambers 11th Floor, U.S. Courthouse, Harrisburg.
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All persons having settlement authority shall be present unless approved by the court

to be available by telephone on the date and time of the conference.

      By February 18, 2020, the parties shall submit to the undersigned, U.S. mail

or electronic mail, at:

Chambers_of_Magistrate_Judge_Martin_Carlson@pamd.uscourts.gov

a brief, concise and confidential settlement memorandum setting forth the parties’

assessment of the case, and settlement recommendations.

      In addition, by February 17, 2020, the parties shall begin the settlement

process by exchanging proposals. The parties’ confidential memoranda should

update the Court on the status of these settlement discussions.




                                /s/ Martin C. Carlson
                                Martin C. Carlson
                                United States Magistrate Judge
